Case 6:17-cv-02206-CEM-GJK Document 63 Filed 06/01/18 Page 1 of 3 PageID 661




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

   NUVASIVE, INC.,                        )
                                          )
               Plaintiff,                 )
                                          )
   v.                                     )             Case No. 6:17-cv-2206-Orl-41GJK
                                          )
   ABSOLUTE MEDICAL, LLC, GREG            )
   SOUFLERIS, and DAVE HAWLEY,            )
                                          )
               Defendants,                )
   _______________________________________)

     NUVASIVE, INC.’S UNOPPOSED MOTION FOR LEAVE TO FILE REPLY TO
       NONPARTY ABSOLUTE MEDICAL SYSTEMS, LLC’S RESPONSE IN
       OPPOSITION TO NUVASIVE’S MOTION TO COMPEL RESPONSE TO
                         SUBPOENA DUCES TECUM

          Plaintiff NuVasive, Inc. (“NuVasive”), by and through its undersigned counsel, and

   pursuant to Local Rule 3.01(c) and (d), files this Unopposed Motion for Leave to File a

   Reply to Nonparty Absolute Medical Systems, LLC’s (“AMS”) Response in Opposition to

   NuVasive’s Motion to Compel Response to Subpoena Duces Tecum.

          On May 10, 2018, NuVasive filed a motion to compel responses to a subpoena duces

   tecum served on AMS. (Doc. 57). On May 25, 2018, AMS filed its response in opposition.

   (Doc. 62). NuVasive now seeks leave to file a brief reply, not to exceed five (5) pages, to

   rebut the new legal and factual arguments raised in AMS’s response. Specifically, NuVasive

   desires an opportunity to rebut AMS’s contention that it is a separate and distinct entity from

   Absolute Medical, LLC and that it is not affiliated with Greg Soufleris. NuVasive would

   also like to address the arguments advanced by AMS that the documents sought from AMS

   by NuVasive are not relevant to this action.
Case 6:17-cv-02206-CEM-GJK Document 63 Filed 06/01/18 Page 2 of 3 PageID 662




          WHEREFORE, NuVasive respectfully requests this Court grant its Unopposed

   Motion for Leave to File a Reply to Nonparty Absolute Medical Systems, LLC’s Response in

   Opposition to NuVasive’s Motion to Compel Response to Subpoena Duces Tecum and

   permit NuVasive to file its reply within five (5) days of the granting of this motion.

                                 Local Rule 3.01(g) Certification

          Counsel for NuVasive has conferred with counsel for Absolute Medical Systems,

   LLC in good faith and is authorized to represent that Absolute Medical Systems, LLC is

   unopposed to the relief requested in this motion.

   Dated: June 1, 2018

                                         Respectfully submitted,

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                                                2
Case 6:17-cv-02206-CEM-GJK Document 63 Filed 06/01/18 Page 3 of 3 PageID 663




                                 CERTIFICATE OF SERVICE

           I hereby certify that on June 1, 2018, a copy of the foregoing was filed electronically.
   Notice of this filing will be sent by operation of the Court’s electronic filing system to all
   parties indicated on the electronic filing receipt. Parties may access this filing through the
   Court’s electronic filing system. The party or parties served are as follows:

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